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                                                      THE HONORABLE JOHN C. COUGHENOUR
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                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8
 9      UNITED STATES OF AMERICA,                          CASE NO. CR16-0136-JCC
10                             Plaintiff,
                                                           MINUTE ORDER
11              v.

12      TOMAS MEZA-DE LA CRUZ, et al.,
13                             Defendants.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.

16 Coughenour, United States District Judge:

17          This matter comes before the Court on the motion to continue trial of codefendants

18 Tomas Meza-De La Cruz, Luis Ramirez-Arredondo, and Ruben Mota-Alvarez (Dkt. No. 73).

19 Codefendant Omar Ortega-Chavez does not join the motion. (Id. at 1.) The Court has considered

20 Defendants’ unopposed motion for a continuance and finds that the ends of justice will be served

21 by ordering a continuance in this case, that a continuance is necessary to ensure adequate time

22 for effective case preparation, and that these factors outweigh the best interests of the public and

23 the defendants in a speedy trial.

24          The Court therefore ORDERS that the trial date in this matter is continued from

25 November 7, 2016 to February 13, 2017 at 9:30 a.m. and that pretrial motions shall be filed no

26 later than January 6, 2017.



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 1          The Court further ORDERS that the period of time from the date of Defendants’ motion
 2 to continue trial, October 6, 2016, until the new trial date of February 13, 2017, shall be

 3 excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161 et seq. Nothing in this order

 4 applies to codefendant Omar Ortega-Chavez, who did not join the motion.

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 7          DATED this 7th day of October 2016.
 8                                                          William M. McCool
                                                            Clerk of Court
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10                                                          s/Paula McNabb
                                                            Deputy Clerk
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